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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )            CASE NO. 8:08CR439
       vs.                                      )
                                                )
LEONARD C. JONES,                               )
                                                )
                                                )                      ORDER
                      Defendant.

       This matter comes on to consider the government’s motion for reduction of sentence

pursuant to Rule 35(b) and request for hearing, Filing No. 227. Having considered the matter,

       IT IS ORDERED that:

       1.     The government’s request for hearing, Filing No. 227 is granted.

       2.     A hearing on the government’s motion for reduction of sentence pursuant to Rule
              35(b) has been set before the undersigned United States district judge on
              December 11, 2009 at 11:00 a.m. in Courtroom No. 2, Roman L. Hruska U.S.
              Courthouse, 111 South 18th Plaza, Omaha, Nebraska.

       3.     Counsel for the defendant, if previously appointed pursuant to the Criminal
              Justice Act, is reappointed to represent the defendant for purposes of the Rule
              35(b) motion. If retained, counsel for the defendant remains as counsel for the
              defendant until the Rule 35(b) motion is resolved or until given leave to withdraw.

       4.     The defendant will participate telephonically in the hearing by informing his
              attorney, who in turn shall supply this court with a telephone number at
              which the defendant may be reached for the hearing.



       Dated this 8th day of December, 2009.

                                                    BY THE COURT:

                                                    s/ Laurie Smith Camp
                                                    United States District Judge
